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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

UNITED STATES OF AMERICA _ *

v. yO CRIM. NO. JKB-19-0036
RONALD STEVENSON, *
_ Defendant. *
* kok * * ko * * * * *

MEMORANDUM AND ORDER

Pending before the Court is Ronald Stevenson’s Motion to Appoint Counsel. (ECF No.
1085.) No hearing is necessary. See Local Rules 105.6 (D. Md. 2021). For the reasons set forth
below, Stevenson’s Motion will be denied without prejudice.

Stevenson seeks representation with respect to filing a motion for compassionate release.
(Sée ECF No. 1085 (seeking appointment of counsel with respect to “a motion for reduction of
sentence 3582(c)(1)(A)”).) There is no tight to appointed counsel in post-conviction proceedings.
Pennsylvania v. Finley, 481 U.S. 551, 555 (1987) (“The right to appointed counsel extends to the
first appeal of right, and no further.”). However, the Court has discretion to appoint counsel for
purposes of a motion for compassionate release if the interests of justice so require. See, ¢.g.,
United States v. Wylie, Crim, No. KDB-18-0054, 2021 WL 5406880, at *1 (W.D.N.C. Nov. 18,
2021). However, at this time, Stevenson has not provided any information showing that his
particular circumstances merit the appointment of counsel, such as a description of the reasons for
which he seeks compassionate release or any information regarding why such claim might be

meritorious.

 

 
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Accordingly, it is ORDERED that Stevenson’s Motion to Appoint Counsel (ECF No.

1085) is DENIED WITHOUT PREJUDICE.

Dated this 2O day of January, 2023.
FOR THE COURT:

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James K. Bredar
Chief Judge

 
